Case 25-40976           Doc 13       Filed 03/24/25 Entered 03/24/25 01:40:04                      Main Document
                                                 Pg 1 of 17


                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


    In re:                                                                 Chapter 11

    23ANDME HOLDING CO., et al.,1                                          Case No. 25-40976

                              Debtors.                                     (Joint Administration Requested)

                                                                           Hearing Date: TBD2
                                                                           Hearing Time: TBD
                                                                           Hearing Location: TBD


           DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
            (I) AUTHORIZING THE DEBTORS TO CONTINUE PREPETITION
         INSURANCE POLICIES AND PAY ALL PREPETITION OBLIGATIONS IN
               RESPECT THEREOF AND (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:

                                                 Relief Requested3

             1.    The Debtors seek entry of an interim order (the “Interim Order”) and a final order

(the “Final Order” and, together with the Interim Order, the “Proposed Orders”)4 (a) authorizing

the Debtors to (i) continue to maintain and administer their prepetition Insurance Program and

revise, extend, renew, supplement, or change Policies thereunder, as needed, and (ii) pay or honor



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address
      for purposes of these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
2
      The Debtors will file a notice stating the date, time, and location of the first day hearing once this information
      becomes available.
3
      Capitalized terms used but not defined in this section have the meanings ascribed to such terms elsewhere in this
      motion.
4
      Copies of the Proposed Orders will be made available on the website of the Debtors’ proposed claims and noticing
      agent at https://restructuring.ra.kroll.com/23andMe.
Case 25-40976         Doc 13       Filed 03/24/25 Entered 03/24/25 01:40:04                    Main Document
                                               Pg 2 of 17


obligations arising under or in connection with their Insurance Program, including prepetition

obligations arising in the ordinary course of business, if any; and (b) granting related relief.5

                                          Jurisdiction and Venue

        2.       The United States Bankruptcy Court for the Eastern District of Missouri

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

rule 9.01(B) of the Local Rules of the United States District Court for the Eastern District of

Missouri. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors

consent to a final order with respect to this motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.       The bases for the relief requested herein are sections 105(a) and 363(b) of title 11

of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and rules 6003 and

6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                 Background

        5.       23andMe Holding Co. (collectively with its Debtor subsidiaries and non-Debtor

affiliates,6 the “Company”) is a leading human genetics and telehealth company with a mission to

help people access, understand, and benefit from the human genome. The Company pioneered

direct access to genetic information as the only company with multiple FDA clearances for genetic

health reports. Further, through its Lemonaid Health telehealth platform, the Company operates



5
    Nothing in this motion should be construed as an assumption or rejection of any executory contract or unexpired
    lease between the Debtors and any other party. The Debtors reserve their rights to contest the amount claimed to
    be due by any person or entity.
6
    Non-Debtor affiliates exclude any controlling shareholder of 23andMe Holding Co.



                                                         2
Case 25-40976       Doc 13      Filed 03/24/25 Entered 03/24/25 01:40:04                Main Document
                                            Pg 3 of 17


as a national online doctor’s office that provides medical care, pharmacy fulfillment, and

laboratory testing services.

        6.      On March 23, 2025 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code.

        7.      The Debtors are operating their business and managing their property as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors have filed

a motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b) substantially contemporaneously herewith. No request for

the appointment of a trustee or examiner has been made in these chapter 11 cases, and no

committees have been appointed or designated at this time.

        8.      A detailed description of the Debtors and their business, including the facts and

circumstances giving rise to the Debtors’ chapter 11 cases, is set forth in the Declaration of

Matthew Kvarda in Support of Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”), filed substantially contemporaneously herewith and incorporated herein by

reference.7

                                  Insurance Program Background

        9.      In the ordinary course of business, the Debtors maintain a comprehensive insurance

program (the “Insurance Program”) consisting of approximately 34 insurance policies (each, a

“Policy” and, collectively, the “Policies”) that are administered by various third-party insurance

carriers (collectively, the “Insurance Carriers”). The Policies vary in amounts and types of

coverage in accordance with prudent business practices, state and local laws governing the




7
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day
    Declaration.



                                                    3
Case 25-40976          Doc 13       Filed 03/24/25 Entered 03/24/25 01:40:04                       Main Document
                                                Pg 4 of 17


jurisdictions in which the Company operates, and various contractual obligations. The Policies

provide coverage for, among other things, losses related to the Company’s property, automobiles,

crime, cargo and stock throughput, cyber and technology liability, directors’ and officers’ liability

(including tail coverage), employers’ liability, medical malpractice, workers’ compensation, and

various other property-related and general liabilities. The Debtors’ Policies as of the Petition Date

are listed in the schedule attached hereto as Exhibit A (the “Insurance Schedule”).8 For each

Policy, the Insurance Schedule includes or otherwise identifies, among other things: (a) the

corresponding Insurance Carriers, (b) the policy number, and (c) the policy term.

        10.      The Debtors’ ability to continue and, as applicable, renew, modify, or supplement

existing Policies is essential to the preservation of the value of the Debtors’ business, property,

and assets during the chapter 11 cases. Moreover, in many instances, insurance coverage is

required by the various regulations, laws, and contracts that govern the Debtors’ commercial

activities,9 including (a) section 1112(b)(4)(C) of the Bankruptcy Code, which provides that

“failure to maintain appropriate insurance that poses a risk to the estate or to the public” constitutes

“cause” for mandatory conversion or dismissal of a chapter 11 case, and (b) the requirement by

the Office of the United States Trustee for Region 13 that a debtor maintain adequate coverage


8
    The descriptions of the Policies set forth in this motion and on Exhibit A are representative only and are not
    intended to restrict the Debtors from changing carriers or programs, or adding different types of insurance, in the
    reasonable exercise of the Debtors’ discretion. The actual terms of the Policies and related agreements will govern
    in the event of any inconsistency with the descriptions in this motion. The Debtors request authority to honor and
    renew Policies regardless of whether the Debtors have inadvertently failed to include a particular Policy on
    Exhibit A, and any such omitted Policy is hereby included in the defined term “Policies” as used herein and in
    the Proposed Order. In addition to the Policies listed on Exhibit A, the Debtors maintain numerous insurance
    policies with respect to, among other things, employee health, disability, and life insurance benefits. These
    programs are described, and relief is requested with respect to such programs, in the Debtors’ Motion for Entry
    of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Certain Prepetition Employee Wages and
    Benefits and (B) Continue Employee Benefits Programs and Pay Related Obligations and (II) Granting Related
    Relief (the “Wages Motion”), filed contemporaneously herewith.
9
    Such contracts include the management, administrative services, and licensing agreements between the Debtors
    and their affiliated non-Debtor professional entities that provide medical services to patients through the Debtors’
    telehealth platform, as described further in the First Day Declaration.



                                                          4
Case 25-40976      Doc 13     Filed 03/24/25 Entered 03/24/25 01:40:04           Main Document
                                          Pg 5 of 17


given the circumstances of its chapter 11 case. See 11 U.S.C. § 1112(b)(4)(C); Operating

Guidelines for Chapter 11 Cases, Office of the United States Trustee for Region 13 (the “U.S.

Trustee Operating Guidelines”).

       11.     A description of the Insurance Program and the Debtors’ obligations thereunder is

set forth below.

A.     Premium Payments

       12.     In the ordinary course of business, the Debtors pay all premium obligations

associated with their Policies (the “Premiums”). Most Policies have a one-year Policy period and

renew annually in either May, June, July, or December. The Debtors prepay the entire amount of

their annual Premiums through their Broker (as defined below) at the beginning of the applicable

Policy period. For the 2023-24 and 2024-25 Policy periods, the Debtors paid an average of $5.29

million in Premiums per year.

       13.     As of the Petition Date, the Debtors do not believe that they owe any prepetition

amounts to any Broker or Insurance Carrier on account of Premiums. Out of an abundance of

caution, however, the Debtors seek authority to continue the Insurance Program in the ordinary

course of business and revise, extend, renew, supplement, or change such Policies, as needed, and

to pay prepetition Premiums in respect of the Policies, if any.

B.     Retention and Deductibles

       14.     Pursuant to the Insurance Program, the Debtors may be required to pay various

retention amounts (each a “Retention”, and collectively, the “Retentions”) or deductibles (each, a

“Deductible” and, collectively, the “Deductibles”), depending upon the type of claims and Policy

involved. Generally, if a claim is made under a Policy that uses Retentions, the Debtors must make

payments in the first instance up to the limit of the Retentions and, once the Debtors have made




                                                 5
Case 25-40976      Doc 13      Filed 03/24/25 Entered 03/24/25 01:40:04            Main Document
                                           Pg 6 of 17


such payments, the applicable Insurance Carrier is obligated to cover any remaining costs.

Additionally, if a claim is made against the Policies that is subject to a Deductible, the Insurance

Carriers and third-party administrators may pay claimants and then invoice the Debtors for claims

paid within any Deductible.

       15.     As of the Petition Date, the Debtors are not aware of any prepetition obligations

owed to the Insurance Carriers relating to any Retention or Deductible. Out of an abundance of

caution, however, the Debtors nonetheless seek authority to satisfy any such prepetition

obligations relating to the Deductibles or the Retentions, and to continue to honor their obligations

under the Policies as they come due in the ordinary course of business on a postpetition basis.

C.     Broker Fees

       16.     The Debtors employ Woodruff-Sawyer & Co. and/or certain of their affiliates and

subsidiaries as their insurance broker (the “Broker”) to assist the Debtors with the procurement

and negotiation of the Policies. The Broker receives compensation (the “Broker Fees”) for their

services through commissions from insurers. The Debtors customarily pay the Broker Fees as a

component of their total annual Premium payments.

       17.     As of the Petition Date, the Debtors do not owe any outstanding Broker Fees. Out

of an abundance of caution, however, the Debtors seek authority to pay prepetition amounts in

respect of the Broker Fees, if any, and to continue the Insurance Program in the ordinary course of

business consistent with historical practice.

D.     Insurance Policy Audits

       18.     Certain of the Debtors’ Policies are subject to regular audits (the “Insurance Policy

Audits”), which may result in an adjustment of the Premiums owed on account thereof. As of the

Petition Date, the Debtors are not aware of any additional amounts owed on account of the




                                                 6
Case 25-40976       Doc 13    Filed 03/24/25 Entered 03/24/25 01:40:04             Main Document
                                          Pg 7 of 17


Insurance Policy Audits. Out of an abundance of caution, however, the Debtors seek the authority

to honor any amounts owed on account of any Insurance Policy Audits, including prepetition

amounts, in the ordinary course of business.

                                          Basis for Relief

A.     Continuation of the Policies Is Required by the Bankruptcy Code and U.S. Trustee
       Operating Guidelines

       19.      Section 1112(b)(4)(C) of the Bankruptcy Code provides that “failure to maintain

appropriate insurance that poses a risk to the estate or to the public” is “cause” for mandatory

conversion or dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C). In addition, in many

instances, the coverage provided under the Insurance Policies is required by the regulations, laws,

and contracts that govern the Debtors’ commercial activities, including the U.S. Trustee Operating

Guidelines. Given this backdrop, the Debtors believe it is essential to their estates, and consistent

with the Bankruptcy Code and the U.S. Trustee Operating Guidelines, to maintain and continue to

make all payments required under their Policies and have the authority to supplement, amend,

extend, renew, or replace their Policies as needed in their business judgment, without further order

of the Court.

B.     Payments to Maintain the Insurance Program are Warranted Under Sections 105(a)
       and 363 of the Bankruptcy Code and are in the Best Interests of the Debtors’ Estates

       20.      The Bankruptcy Code authorizes the Debtors to continue their prepetition practices

with respect to their Insurance Program, including all payments on account of the Policies and to

Brokers as such practices are in the ordinary course of the Debtors’ business. Courts have

recognized that it is appropriate to authorize the payment of prepetition obligations where

necessary to protect and preserve the estate, including an operating business’s going-concern

value. See, e.g., In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002); In re Ionosphere

Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (“The ability of a Bankruptcy Court to


                                                 7
Case 25-40976          Doc 13       Filed 03/24/25 Entered 03/24/25 01:40:04                      Main Document
                                                Pg 8 of 17


authorize the payment of pre-petition debt when such payment is needed to facilitate the

rehabilitation of the debtor is not a novel concept.”). In doing so, these courts acknowledge that

several legal theories rooted in sections 105(a) and 363(b) of the Bankruptcy Code support the

payment of prepetition claims as provided herein.10

         21.      Section 363(b) of the Bankruptcy Code permits a debtor, subject to court approval,

to pay prepetition obligations where a sound business purpose exists for doing so. See Ionosphere

Clubs, 98 B.R. at 175 (noting that section 363(b) provides “broad flexibility” to authorize a debtor

to honor prepetition claims where supported by an appropriate business justification). Indeed,

courts have recognized that there are instances when a debtor’s fiduciary duty can “only be fulfilled

by the pre-plan satisfaction of a prepetition claim.” In re CoServ, L.L.C., 273 B.R. at 499.

         22.      Section 105(a) of the Bankruptcy Code and the “doctrine of necessity” permit the

bankruptcy court to exercise its broad grant of equitable powers to authorize the payment of

prepetition obligations when “such payments are necessary to the continued operation of the

Debtor.” See, e.g., In re Wehrenberg, Inc., 260 B.R. 468, 469 (Bankr. E.D. Mo. 2001) (citing In

re Just for Feet, Inc., 242 B.R. 821, 824–25 (Bankr. D. Del. 1999) (holding that debtors may pay

prepetition claims that are essential to continued operation of business)); Bird v. Crown

Convenience (In re NWFX, Inc.), 864 F.2d 588, 590 (8th Cir. 1988) (“The overriding consideration

in bankruptcy, however, is that equitable principles govern . . .”); In re Payless Cashways, Inc.,

268 B.R. 543, 546 (Bankr. W.D. Mo. 2001) (explaining that courts have long justified the payment



10
     Because the Debtors engage in transactions related to the Insurance Program on a regular basis and such
     transactions are common among enterprises similar to the Debtors, the Debtors believe that such transactions are
     ordinary course transactions within the meaning of section 363(c)(1) of the Bankruptcy Code and thus do not
     require the Court’s approval. Nonetheless, out of an abundance of caution, the Debtors are seeking express
     authority to engage in such transactions on a postpetition basis. The continued performance of the ordinary course
     transactions in connection with the Debtors’ Insurance Program is integral to ensuring the Debtors’ ability to
     operate their business as debtors in possession and maximize the value of their estates.



                                                          8
Case 25-40976        Doc 13     Filed 03/24/25 Entered 03/24/25 01:40:04             Main Document
                                            Pg 9 of 17


of certain pre-petition creditors under the “doctrine of necessity” when “payment of those claims

was necessary to keep the debtor in business,” and “was necessary to effectuate a successful

reorganization . . .”).

        23.     The above-referenced sections of the Bankruptcy Code empower the Court to

authorize the postpetition payment of prepetition claims when the payments are critical to

preserving the going-concern value of the debtor’s estate, as is the case here. See, e.g., In re Just

for Feet, 242 B.R. at 826 (finding that payment of prepetition claims of certain trade vendors was

“essential to the survival of the debtor during the chapter 11 reorganization”); In re CoServ, L.L.C.,

273 B.R. at 497 (“[I]t is only logical that the bankruptcy court be able to use [s]ection 105(a) of

the [Bankruptcy] Code to authorize satisfaction of the pre-petition claim in aid of preservation or

enhancement of the estate.”).

        24.     The Debtors are unaware of any prepetition obligations arising from the Policies.

Out of an abundance of caution, however, and in light of the importance of maintaining insurance

coverage with respect to their business activities, the Debtors believe that it is in the best interest

of their estates to maintain the Policies and to pay any prepetition obligations necessary to do so,

as well as to revise, extend, supplement, or change insurance coverage, as necessary, pursuant to

section 363(b)(1) of the Bankruptcy Code. If the Policies lapse, or if certain of the Insurance

Carriers cancel the Policies or otherwise refuse to continue doing business with the Debtors on

account of unpaid premiums, the Debtors’ estates could be exposed to significant liabilities. The

loss of any insurance coverage would impose considerable administrative and financial burdens

on the Debtors, requiring the Debtors’ management to expend significant attention to resources to

secure replacement coverage at a critical juncture in these chapter 11 cases and, possibly, rendering

the Debtors non-compliant with the U.S. Trustee’s requirement that debtors maintain insurance




                                                  9
Case 25-40976      Doc 13      Filed 03/24/25 Entered 03/24/25 01:40:04             Main Document
                                          Pg 10 of 17


coverage during these chapter 11 cases. The Debtors therefore seek the continuation of their

Insurance Program. The Debtors believe that the substantial benefit conferred on the Debtors’

estates—and ultimately their creditors—by the Insurance Program’s enhancement of the Debtors’

going-concern business value warrants authorizing the Debtors to honor such Insurance Program.

       25.     For the foregoing reasons, the Debtors submit that the circumstances of these

chapter 11 cases warrant granting the requested relief, and that doing so is in the best interests of

the Debtors, their estates, their creditors, and their stakeholders, and therefore should be granted.

Accordingly, the Debtors respectfully request that the Court authorize the Debtors to maintain their

Insurance Program and pay prepetition claims, if any, arising thereunder, pursuant to sections

105(a) and 363(b) of the Bankruptcy Code.

        Processing of Checks and Electronic Funds Transfers Should Be Authorized

       26.     In connection with the foregoing, the Debtors respectfully request that the

Court (a) authorize the Debtors’ banks and other financial institutions (the “Banks”) to receive,

process, honor, and pay all checks and transfers issued by the Debtors in accordance with this

motion, without regard to whether any checks or transfers were issued before or after the Petition

Date; (b) provide that all Banks may rely on the Debtors’ representations with respect to whether

any check or transfer issued or made by the Debtors before the Petition Date should be honored

pursuant to this motion (such banks and other financial institutions having no liability to any party

for relying on such representations by the Debtors provided for herein); and (c) authorize the

Debtors to issue replacement checks or transfers to the extent any checks or transfers that are issued

and authorized to be paid in accordance with this motion are dishonored or rejected by the Banks.

                                  Immediate Relief Is Necessary

       27.     Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

the commencement of a chapter 11 case if “relief is needed to avoid immediate and irreparable


                                                 10
Case 25-40976      Doc 13      Filed 03/24/25 Entered 03/24/25 01:40:04             Main Document
                                          Pg 11 of 17


harm.” For the reasons discussed herein and in the First Day Declaration, the Debtors believe an

immediate and orderly transition into chapter 11 is critical to the viability of their operations and

that any delay in granting the relief requested could hinder the Debtors’ operations and cause

irreparable harm. Failure to obtain the requested relief during the first 21 days of these chapter 11

cases would severely disrupt the Debtors’ operations at this critical juncture and imperil the

Debtors’ restructuring efforts. The relief requested herein is necessary for the Debtors to operate

their business in the ordinary course and preserve the value of their estates for the benefit of

stakeholders. Accordingly, the Debtors respectfully submit that Bankruptcy Rule 6003 has been

satisfied.

                       Waiver of Bankruptcy Rules 6004(a) and 6004(h)

        28.    Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or

lease of property (other than cash collateral) is stayed for 14 days after the order is entered.” Fed.

R. Bankr. P. 6004(h). As described above, the relief that the Debtors seek in this motion is

necessary for the Debtors to operate their business without interruption and to preserve value for

their estates through these chapter 11 cases. Accordingly, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

that the Debtors have established cause to exclude such relief from the 14-day stay period under

Bankruptcy Rule 6004(h).

                                      Reservation of Rights

        29.    Nothing contained herein or any actions taken pursuant to such relief requested is

intended to be or should be construed as: (a) an admission as to the amount of, basis for, or validity

of any claim against a Debtor entity under the Bankruptcy Code or other applicable law; (b) a

waiver of the Debtors’ or any other party in interest’s right to dispute any claim on any grounds;

(c) a promise or requirement to pay any claim; (d) an implication or admission that any particular


                                                 11
Case 25-40976       Doc 13     Filed 03/24/25 Entered 03/24/25 01:40:04               Main Document
                                          Pg 12 of 17


claim is of a type specified or defined in this motion or any order granting the relief requested by

this motion or a finding that any particular claim is an administrative expense claim or other

priority claim; (e) a request or authorization to assume, adopt, or reject any agreement, contract,

or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity,

priority, enforceability, or perfection of any lien on, security interest in, or other encumbrance on

property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’ or any other party in

interest’s rights under the Bankruptcy Code or any other applicable law; (h) a waiver of the

obligation of any party in interest to file a proof of claim; or (i) a concession by the Debtors that

any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the

relief requested in this motion are valid, and the rights of all parties in interest are expressly

reserved to contest the extent, validity, or perfection of, or seek avoidance of, all such liens. If the

Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended and should not be construed as an admission as to the validity of any particular claim or

a waiver of the Debtors’ or any other party in interest’s rights to subsequently dispute such claim.

                                                Notice

       30.     The Debtors will provide notice of this motion to the following parties: (a) the

Office of the United States Trustee for the Eastern District of Missouri; (b) the holders of the 30

largest unsecured claims against the Debtors (on a consolidated basis); (c) the law firms

representing claimants who have filed or asserted claims arising out of the Cyber Security Incident

as of the Petition Date; (d) the agent/lender under any proposed postpetition financing facility and

its counsel, if applicable; (e) the Insurance Carriers; (f) the Broker; (g) the United States Attorney’s

Office for the Eastern District of Missouri; (h) the Internal Revenue Service; (i) the Securities and

Exchange Commission; (j) the Federal Trade Commission; (k) the state attorneys general in all 50

states; and (l) any party that has requested notice pursuant to Bankruptcy Rule 2002 (collectively,


                                                  12
Case 25-40976      Doc 13     Filed 03/24/25 Entered 03/24/25 01:40:04          Main Document
                                         Pg 13 of 17


the “Notice Parties”). Notice of this motion and any order entered hereon will be served in

accordance with rule 9013-3(A)(1) of the Local Rules of Bankruptcy Procedure for the Eastern

District of Missouri (the “Local Rules”). The Debtors submit that, in light of the nature of the

relief requested, no other or further notice need be given.

       31.     A copy of this motion is available on (a) PACER at https://pacer.uscourts.gov/ and

(b) the website maintained by the Debtors’ proposed claims and noticing agent, Kroll

Restructuring Administration LLC, at https://restructuring.ra.kroll.com/23andMe.



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                                                 13
Case 25-40976      Doc 13    Filed 03/24/25 Entered 03/24/25 01:40:04           Main Document
                                        Pg 14 of 17


       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Orders

and grant such other relief as the Court deems appropriate under the circumstances.

Dated: March 24, 2025                       Respectfully submitted,
St. Louis, Missouri
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                                            - and -

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                                            Proposed Counsel to the Debtors and Debtors in
                                            Possession
Case 25-40976   Doc 13   Filed 03/24/25 Entered 03/24/25 01:40:04   Main Document
                                    Pg 15 of 17


                                    Exhibit A

                                Insurance Policies
        Case 25-40976            Doc 13    Filed 03/24/25 Entered 03/24/25 01:40:04                   Main Document
                                                      Pg 16 of 17


         Type of Insurance                              Carrier                       Policy Number        Policy Term Date

Auto - Commercial                    Federal Insurance Company                   73602283               07/01/2024 - 07/01/2025

Cargo                                Lloyds of London - Falvey                   MCFAL90000246          07/01/2024 - 07/01/2025

Crime                                Beazley Insurance Company                   V32364240301           07/01/2024 - 07/01/2025

Cyber Liability - Excess             Homeland Insurance Company of New York      7200019130000          05/01/2024 - 05/01/2025

D&O - Public                         National Union Fire Ins Co Pittsburgh, PA   011735605              06/16/2023 - 07/01/2025

D&O Excess - Public                  Berkley Insurance Company                   BPRO8094901            06/16/2023 - 07/01/2025

D&O Excess - Public                  Continental Casualty Company                652347042              06/16/2023 - 07/01/2025

D&O Excess - Public                  Allied World Specialty Insurance Company    03138799               06/16/2023 - 07/01/2025

D&O Excess - Public                  XL Specialty Insurance Company              ELU19060223            06/16/2023 - 07/01/2025

D&O Excess - Public                  Hudson Insurance Company                    HN03037601061623       06/16/2023 - 07/01/2025

D&O Excess Side A DIC - Public       Axis Insurance Company                      P00100052287303        06/16/2023 - 07/01/2025

D&O Excess Side A DIC - Public       Allied World Specialty Insurance Company    03129255               06/16/2023 - 07/01/2025

D&O Excess Side A DIC - Public       Endurance Assurance Corporation (Sompo)     ADL30007968302         06/16/2023 - 07/01/2025

D&O Excess Side A DIC - Public       Old Republic Insurance Company              ORPRO12105085          07/01/2024 - 07/01/2025

D&O Independent Directors - Public   National Union Fire Ins Co Pittsburgh, PA   018240341              10/28/2024 - 07/01/2025

D&O Independent Directors - Public   XL Specialty Insurance Company              ELU20062124            10/28/2024 - 07/01/2025

D&O Independent Directors - Public   Berkley Insurance Company                   BPRO8121721            10/28/2024 - 07/01/2025

D&O Independent Directors - Public   Twin City Fire Insurance Company            57DA070093624          10/28/2024 - 07/01/2025

E&O/Cyber Liability                  Lloyds of London                            B1510CY2400013         05/01/2024 - 05/01/2025

E&O/Cyber Liability - Excess         Houston Casualty Company                    14MG24A16424           05/01/2024 - 05/01/2025

E&O/Cyber Liability - Excess         Lloyds of London                            TCIAX24HH86            05/01/2024 - 05/01/2025

E&O/Cyber Liability - Excess         Arch Specialty Insurance Company            C4LPE044020CYBER2024   05/01/2024 - 05/01/2025

E&O/Cyber Liability - Excess         Lloyds of London                            B1510CY2400014         05/01/2024 - 05/01/2025

Employment Practices Liability       Continental Casualty Company                652522230              07/01/2024 - 07/01/2025

Fiduciary Liability                  Federal Insurance Company                   J06016091              07/01/2024 - 07/01/2025

Medical Malpractice Liability        Lloyds of London - Beazley                  W2DE57240401           07/01/2024 - 07/01/2025

Package - Commercial                 Federal Insurance Company                   36053971               07/01/2024 - 07/01/2025

Products Liability                   Gemini Insurance Company                    GL1243911              07/01/2024 - 07/01/2025
       Case 25-40976          Doc 13    Filed 03/24/25 Entered 03/24/25 01:40:04              Main Document
                                                   Pg 17 of 17


         Type of Insurance                         Carrier                    Policy Number        Policy Term Date

Products Liability - Excess       Federal Insurance Company               93643559              07/01/2024 - 07/01/2025

Professional Liability            Lloyds of London - Hiscox               MEO457375621(ERP)     12/31/2022 - 12/31/2025

Professional Liability            Lloyds of London - Hiscox               MEO532633424          07/01/2024 - 07/01/2025

Special Contingency               Great American Insurance Company        UKA302315924          07/01/2024 - 07/01/2027

Umbrella - Commercial             Federal Insurance Company               78186788              07/01/2024 - 07/01/2025

Workers Comp                      Travelers Prop Casualty Co of America   UB3N50008724I6G       07/01/2024 - 07/01/2025
